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                  UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF MICHIGAN


FRAZIER DANCY, III,
                                              Case No. 2:21-cv-11368-SFC-
            Plaintiff,                        APP

v.

DCN HOLDINGS, INCORPORATED                    Honorable Sean F. Cox
d/b/a ACCOUNTS RECEIVABLE,

            Defendant.



           PLAINTIFF’S RESPONSE TO ORDER TO SHOW CAUSE

      Frazier Dancy, III (“Plaintiff”), by and through his undersigned counsel,

submits his response to this Honorable Court’s Order to Show Cause dated August

3, 2021 [Dkt. 7], as follows:

      1.     On June 10, 2021, Plaintiff filed a Complaint against DCN Holdings,

Incorporated d/b/a Accounts Receivable (“Defendant”) seeking redress for

violations of the Fair Debt Collection Practices Act, 15 U.S.C. §1692 et seq. and the

Michigan Occupational Code, M.C.L. §339.901 et seq. [Dkt. 1]

      2.     Defendant’s answer was due on or before July 22, 2021. [Dkt. 6]

      3.     On August 3, 2021, this Honorable Court entered an Order requiring

Plaintiff to show cause why the case should not be dismissed for failure to prosecute.

[Dkt. 7]

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        4.   On August 4, 2021, Plaintiff promptly filed a Motion for Entry of

Clerk’s Default. [Dkt. 8]

        5.   On August 4, 2021, a Clerk’s Entry of Default was entered. [Dkt. 8]

        6.   Plaintiff intends on filing a Motion for Default Judgment in the next 14

days.

        7.   In the meantime, Plaintiff is attempting to contact Defendant regarding

the Clerk’s Entry of Default to ensure that Defendant is apprised of the proceedings

in case Defendant intends on appearing.

        8.   Accordingly, Plaintiff respectfully requests that the Court terminate its

Rule to Show Cause with no further action.

        WHEREFORE, Plaintiff respectfully requests that this Honorable Court

terminate the Order to Show Cause without any further action.

Dated: August 17, 2021                        Respectfully Submitted,

                                              s/ Mohammed O. Badwan
                                              Mohammed O. Badwan, Esq.
                                              Counsel for Plaintiff
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                         CERTIFICATE OF SERVICE

      I hereby certify that on August 17, 2021, I caused a copy of the foregoing

document to be electronically filed with the Clerk of Court using the CM/ECF

system which will be sent to all attorneys of record.


                                              s/ Mohammed O. Badwan




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